       Case 2:22-cv-00129-DPM Document 5 Filed 10/14/22 Page 1 of 1



          IN THE UNITED STATES DISTRICT COURT
             EASTERN DISTRICT OF ARKANSAS
                     DELTA DIVISION

CARLOS RENTERIA                                                PLAINTIFF
Reg. #25907-508

v.                       No: 2:22-cv-129 DPM

GREG RECHCIGL, HSA, WellPath                                  DEFENDANT

                             JUDGMENT
     Renteria' s complaint is dismissed without prejudice.
                                          ~vt.df /:.     j,

                                       D .P. Marshall Jr.
                                       United States District Judge
